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                                                                                                      Reset Form     I       Print Form


                                       IN THE UNITED STATES DISTRICT COURT
                                       FOR THE EASTERN DISTRICT OF VIRGINIA

       APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D) AND LOCAL
                                              CRIMINAL RULE 57.4
                In Case Number      3:20cv98      , Case Name Steves and Sons, Inc. v. JELD-WEN, Inc.
                Party Represented by Applicant: Plaintiff, Steves and Sons, Inc.

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

                                                     PERSONAL STATEMENT

FULL NAME (no initials, please) Glenn Pomerantz
Bar Identification Number 112503              State California
Firm Name Munger Tolles & Olson LLP
Finn Phone # 213/683-9100                 Direct Dial # 213/683-9132                           FAX #    713M/11-S112
E-Mail Address Glenn.Pomerantz@mto.com
Office Mailing Address 350 S. Grand Avenue, 50th Floor, Los Angeles, CA 90071

Name(s) of federal court(s) in which I have been admitted SEE ATTACHED

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.

I hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

I am       am not X a full-time employee of the United States of America, and i o,                t exem       on     the admission fee.

                                                                                          icant's Signature)

I, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I    w the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant's personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.

                                                                                              e                  X/i      /a -C.)
                                                   (Signature)                                                  (Date)
                                                   Lewis F. Powell III                                          18266
                                                            (Typed or Printed Name)                             (VA Bar Number)
Court Use Only:

Clerk's Fee Paid             or Exemption Granted

The motion for admission is GRANTED                   or DENIED




                         (Judge's Signature)                                                 (Date)
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ADDENDUM TO APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER
LOCAL CIVIL RULE 83.1(D) AND LOCAL CRIMINAL RULE 57.4


Name(s) of federal court(s) in which I have been admitted:


Court                                                        Date of Admission
USDC, Central District of California                         01/06/1984
USDC, Southern District of California                        06/16/1984
USDC, Northern District of California                        10/09/1990
USDC, District of Columbia                                   07/07/1986
USDC, District of Michigan                                   09/10/2009
U.S. Court of Appeals, Ninth Circuit                         05/18/1989
U.S. Court of Appeals, Third Circuit                         11/03/1986
U.S. Court of Appeals, Second Circuit                        05/06/2014
U.S. Court of Appeals, Fifth Circuit                         02/27/2003
U.S. Court of Appeals, Eleventh Circuit                      08/31/1998
U.S. Court of Appeals, Fourth Circuit                        12/20/1994
U.S. Court of Appeals, District of Columbia                  10/29/2003
Supreme Court, State of California                           01/16/1984
